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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


                COALITION PLAINTIFFS’ MOTION FOR
                 ADDITIOINAL INJUNCTIVE RELIEF

       Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs

Coalition for Good Governance, William Digges III, Laura Digges, Megan

Missett, and Ricardo Davis (the “Coalition Plaintiffs”) move the Court for the

following injunctive relief:

       1. Electronic Pollbook Corrections and Security

       To order authorized representatives of Defendant Secretary of State and the

Coalition Plaintiffs, within five days, to confer and file a plan with the Court that

addresses the following topics with respect to the November 6, 2018 election: (a)

the procedures to be undertaken by election officials to address errors in the voter

registration database that may cause eligible voters to receive the wrong ballot, be

assigned to the wrong precinct in the electronic pollbook, or be prevented from

casting a regular ballot in their properly assigned precinct; (b) the procedures to be
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undertaken by the Secretary’s staff and by county election officials and poll

workers to provide for use of the paper back-up of the pollbook in the polling

places for adjudicating voter eligibility and precinct assignment problems.

      2. Paper Ballot Audit

      To order authorized representatives of Defendant State Election Board and

the Coalition Plaintiffs to confer and file with the Court a proposed plan for a pre-

certification audit of the paper ballot tabulations of the November 6, 2018 and

December 4, 2018 elections. The plan should be based on the audit principles

discussed in Professor Stark’s Declaration, (Doc. 296, at 12 ¶¶ 27-31, at 13-14

¶34-39, at 14-17 ¶41-47, and Exhibit G ¶¶ 9-12) and focused on contested

candidate races on the ballot.

      3. County Election of Paper Ballots

      To enjoin the State Defendants, in all or any upcoming elections, from

directly or indirectly prohibiting counties from adopting paper ballots at the polling

place if the authorized officials in those counties determine that it is feasible to use

paper ballots in such counties.

      4. DRE Tape Audit

      To order the Secretary of State to direct each county superintendent of

elections, prior to the certification of the election, to confirm the mathematical


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accuracy of the reported summary of individual printed DRE machine vote tallies

printed at the polling places, in a manner consistent with the recommendations of

Professor Stark as set forth in Paragraph 8 of his Supplemental Declaration.

      5. Paper Ballots – December Special Elections and Run-off Elections

      To enjoin Defendants from conducting the December 2018 runoff election

and December 2018 special elections through the use of DRE voting units and to

enjoin Defendants to conduct such elections using paper ballots; provided,

however, that Defendants shall make available at each polling place at least one

voting system equipped for individuals with disabilities that produces a permanent

paper record, see 52 U.S.C. § 21081(a)(2)(B) and § 21081(a)(3)(B), which may not

be a paperless DRE voting unit unless no other equipment equipped for individuals

with disabilities is reasonably available that satisfies the requirement to have a

manual audit capacity.

      6. Paper Ballots – Elections after January 1, 2019 Elections

      To enjoin Defendants from conducting any election after January 1, 2019

through the use of DRE voting units and to enjoin Defendants to conduct such

elections using paper ballots; provided, however, that Defendants shall make

available at each polling place at least one voting system equipped for individuals

with disabilities that produces a permanent paper record, see 52 U.S.C.


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§ 21081(a)(2)(B) and § 21081(a)(3)(B), which may not be a paperless DRE voting

unit unless no other equipment equipped for individuals with disabilities is

reasonably available that satisfies the requirement to have a manual audit capacity.

      Pursuant to Rule 65(d), the Coalition Plaintiffs have filed with this Motion a

proposed order stating the reasons why it should issue, the terms specifically, the

acts restrained and required, and the persons to be bound thereby.

      Pursuant to Rule 7.1A of the Local Rules of the Northern District of

Georgia, and Part III (a) of this Court’s Standing Order, the Coalition Plaintiffs

have filed herewith a brief citing legal authorities supporting the motion and the

facts relied upon, together with supporting declarations and exhibits.

      Respectfully submitted this 2nd day of October, 2018.


                                      /s/ Robert A. McGuire, III
  /s/ Bruce P. Brown                  Robert A. McGuire, III
 Bruce P. Brown                       Admitted Pro Hac Vice
 Georgia Bar No. 064460                 (ECF No. 125)
 BRUCE P. BROWN LAW LLC               Attorney for Coalition
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 /s/ William Brent Ney             /s/ Cary Ichter
 William Brent Ney                 CARY ICHTER
 Georgia Bar No. 542519            Georgia Bar No. 382515
 Attorney for Coalition            Attorney for William Digges III, Laura
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  BRIAN KEMP, ET AL.,
  Defendants.


                            CERTIFICATE OF COMPLIANCE
         I hereby certify that the foregoing document has been prepared in accordance with

  the font type and margin requirements of LR 5.1, using font type of Times New Roman

  and a point size of 14.

                                          /s/ Bruce P. Brown
                                          Bruce P. Brown
                                          Georgia Bar No. 064460
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                                          Attorney for Coalition for
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  BRIAN KEMP, ET AL.,
  Defendants.


                          CERTIFICATE OF SERVICE

       This is to certify that I have this day caused the foregoing COALITION

PLAINTIFFS’ MOTION FOR ADDITIONAL INJUNCTIVE RELIEF to be

served upon all other parties in this action by via electronic delivery using the

PACER-ECF system.

       This 2nd day of October, 2018.

                                        /s/ Bruce P. Brown
                                        Bruce P. Brown
                                        Georgia Bar No. 064460
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                                        Attorney for Coalition for
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